     Case 5:23-cv-01118-AB-SSC Document 2 Filed 06/13/23 Page 1 of 2 Page ID #:12


AO 440(Rev.06/12) Sununons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                for the
                                                     Central District of California



                       BRIAN BROWN


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                                                                                                                               ~~VTCJ
        CITY OF NEEDLES, BERNARD HATZ, II


                          Defendants)

                                                 SUMMONS IN A CIVIL ACTION

T0:(Defendant's name and address)
                                         City of Needles
                                         817 Third St
                                         Needles, CA 92363




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you(not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12(a)(2) or(3)—you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                 Brian Brown, Pro-Se
                                 723 3rd St
                                 Needles CA 92363
                                (520) 831-0985


       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:                     2Q 2~.~
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Civil Action No.

                                                 PROOF OF SERVICE
                  (This section should not beftled with the court unless required by Feel R. Civ. P. 4(1))

          Th1S SummOnS for (Hume ofindividual and title, ifanp)

 was received by me on (date)

           ~_l I personally served the summons on the individual at(place)
                                                                               On (date)                           ; Or


          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                 a person of suitable age and discretion who resides there,
          on (dare)                              ,and mailed a copy to the individual's last laiown address; or

          ~ 1 ser~•ed the summons on name orindt~iduaq                                                                       who is
           designated by law to accept service of process on behalf of ~rrame o/~organiZationJ
                                                                               on (date)                            or

          ~ I returned the summons unexecuted because                                                                            or

          ~ Other (specify):




           My fees are $                          for travel and $                 for services, for a total of$          0.00


          I declare under penalty of perjury that this information is true.


 Date:
                                                                                           Server's signanrre



                                                                                      Printed name and title




                                                                                           Server's address


 Additional information regarding attempted service, etc:
